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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                        :

              V.                                :   CRIMINAL NO. RWT-04-0235

PAULETTE MARTIN, et al.                        :
                                         ...oooOooo...

        MOTION TO WITHDRAW AS COUNSEL FOR THE UNITED STATES

       The United States of America, by and through its undersigned counsel, hereby files this

motion to withdraw in the above-referenced case. Assistant United States Attorney Adam

Kenneth Ake has entered her appearance as counsel for the United States.

       Therefore, Assistant United States Attorney Bonnie S. Greenberg respectfully requests

that her appearance be stricken from the above-referenced case.


                                            Respectfully submitted,

                                            Rod J. Rosenstein
                                            United States Attorney



                                      By:   ____/s/_______________________
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